Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page1of 8

Guy W. Rogers
grogers@brownfirm.com
Jon A. Wilson
jwilson@brownfirm.com
BROWN LAW FIRM, P.C.
315 North 24" Street

P.O. Drawer 849

Billings, MT 59103-0849
Tel. (406) 248-2611

Fax (406) 248-3128

Joel M. Taylor, Esq.

jtaylor@mmt-law.com

MILLER MCNAMARA & TAYLOR LLP

100 South Bedford Road, Suite 340

Mount Kisco, NY 10549

Telephone/E-Fax: (845) 288-0844

Attorneys for Defendants Watchtower Bible and Tract Society of New York, Inc.,
and Watch Tower Bible and Tract Society of Pennsylvania

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION
TRACY CAEKAERT, and CAMILLIA? Cause No. CV 20-52-BLG-SPW
MAPLEY,
STIPULATED PROTECTIVE
Plaintiffs, ORDER

VS.

)

)

)

)
WATCHTOWER BIBLE AND
TRACT SOCIETY OF NEW YORK, )
INC., WATCH TOWER BIBLE AND )
TRACT SOCIETY OF
PENNSYLVANIA, and BRUCE
MAPLEY SR.,
)

)

)

Defendants.

Stipulated Protective Order - 1
Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page 2 of 8

WATCHTOWER BIBLE AND
TRACT SOCIETY OF NEW YORK,
INC.

Cross-Claimant,
vs.

BRUCE MAPLEY SR.,

Cross-Claim Defendant.

eet ee ee ee ee ee ee ee ee ee ee ee ee ee

Plaintiffs Tracy Caekaert and Camillia Mapley (hereinafter “Plaintiffs”), by
and through their counsel, and Defendants/Cross-Claimants Watchtower Bible and
Tract Society of New York, Inc. (hereinafter “WTNY”) and Watch Tower Bible
and Tract Society of Pennsylvania, Inc. (hereinafter “WTPA”) (collectively
hereinafter “WT Defendants”), by and through their counsel, hereby stipulate as
follows:

1. Plaintiffs have requested in Court-ordered jurisdictional discovery!
certain documents and information from WT Defendants that contain private,
confidential, and/or proprietary business information, including but not limited to

financial information.? Such private, confidential, and/or proprietary business

' See Does. 32, 42, and 47

? At the time of this Stipulated Protective Order, the Court has only allowed jurisdictional
discovery. Nothing herein is intended to limit the parties’ ability to amend this Stipulated
Protective Order or enter into a new protective order after the conclusion of jurisdictional
discovery.

Stipulated Protective Order - 2
Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page 3 of 8

information is hereinafter referred to as “Confidential Information” for purposes of
this Stipulated Protective Order.

2. Pursuant to this Stipulated Protective Order, WT Defendants may
designate items of discovery or other information produced or disclosed to Plaintiffs
as Confidential Information. Such a designation shall make such items and all
copies, prints, summaries, or other reproductions of such information subject to this
Stipulated Protective Order.

3. Any document or information designated as Confidential Information
by WT Defendants shall be clearly stamped or labeled “Confidential.”

4, WT Defendants shall designate documents or other information
produced as Confidential Information with a clearly stamped or labeled
“Confidential” identifier in good faith.

5. Confidential Information may be disclosed only to the following
persons:

a. The Parties and their counsel of record, counsel of record’s partners,
associates, clerks, legal assistants, secretarial personnel, co-counsel,
and/or those regularly employed by counsel of record;

b. Persons who are, or who are the employees of, independent experts,
consultants, document managers, and litigation support contractors

retained by counsel or parties to this action;

Stipulated Protective Order - 3
Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page 4 of 8

c. Officers of corporate parties named in this action, and individuals
named in this action;

d. The Court, court personnel, including stenographic reporters; and

e. Any actual or prospective witness in this litigation, except that such
a person may only be shown a matter designated as Confidential
Information during, or in preparation of, his or her testimony, and
only to the extent necessary for such preparation or testimony.

6. Persons who are provided documents produced subject to this
Stipulated Protective Order pursuant to the provisions herein may use or disclose
such documents only in connection with, or preparation for, settlement negotiations,
trial, and other proceedings in the above referenced matter only and not for any other
purpose, and may not at any time show, display, reveal, disseminate, or discuss such
documents or the contents thereof to or with any person(s) other than those listed
herein, without consent of the other parties or leave of Court.

7. Nothing in this Stipulated Protective Order shall limit the rights of the
parties to object to any evidence at trial or other evidentiary proceeding in this case
on grounds other than those related to this Stipulated Protective Order.

8. If any Confidential Information produced subject to this Stipulated

Protective Order is attached as an exhibit to motions or other filings with the Court,

Stipulated Protective Order - 4
Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page 5 of 8

such exhibit(s) shall be attached to the motion or filing for the Court’s review under
seal pursuant to L.R. 5.2.

9. If any Confidential Information produced subject to this Stipulated
Protective Order is made an exhibit at any deposition, such deposition exhibit(s)
shall be filed under seal and continue to be treated as Confidential Information as set
forth herein.

10. The parties understand that any Confidential Information relied upon
by the Court in resolving any issue before the Court, including Confidential
Information filed under seal as set forth herein, will be made public
contemporaneously with the Court’s ruling on the issue.

11. Any objection to the classification or identity of documents identified
as Confidential Information shall come with a written notification to all counsel. If
an informal resolution cannot be reached, the producing party shall move the Court
for a Protective Order for the specific objected to document(s). During the period
of time while a Protective Order is pending and until resolution by the Court, said
document(s) shall remain subject to the terms and conditions of this Stipulated
Protective Order.

12. Documents or other materials subject to this Stipulated Protective
Order may only be used in the following two cases: Tracy Caekaert et al. v.

Watchtower Bible and Tract Society of New York, Inc., et al., Cause No. CV-20-52-

Stipulated Protective Order - 5
Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page 6 of 8

BLG-SPW in the United States District Court for the District of Montana, Billings
Division; and Ariane Rowland et al. v. Watchtower Bible and Tract Society of New
York, Inc., et al., Cause No. CV-20-59-BLG-SPW in the United States District Court
for the District of Montana, Billings Division. Documents or other materials subject
to this Stipulated Protective Order may not be used in any other claim or case, and
may not be disseminated after final resolution of this action. The parties agree to
maintain the confidentiality of all materials subject to this Stipulated Protective
Order upon termination of this action, whether by settlement or final judgment,
unless subject to a court order superseding this Stipulated Protective Order.

13. Upon termination of this action, Confidential Information disclosed
pursuant to this Stipulated Protective Order shall be destroyed by the receiving party.
The receiving party’s counsel agrees to certify in writing to counsel for the producing
party that this provision of this Stipulated Protective Order has been satisfied.

14. This Stipulated Protective Order is intended to preserve the privacy,
confidentiality, and proprietary nature of such documents and information.

15. This Stipulated Protective Order may be amended following resolution
of WTPA’s pending Motion to Dismiss Pursuant to Rule 12(b)(2), Fed.R.Civ.P.*

upon agreement by all parties involved.

3 See Doc. 13.

Stipulated Protective Order - 6
Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page 7 of 8

DATED this 4" day of March, 2021.

By:

/s/ Guy W. Rogers

Guy W. Rogers

Jon A. Wilson

BROWN LAW FIRM, P.C.

Attorneys for Defendants Watchtower Bible
and Tract Society of New York, Inc., and
Watch Tower Bible and Tract Society of
Pennsylvania

DATED this 4" day of March, 2021.

By:

/s/ Ryan Shaffer

Robert L. Stepans

Ryan R. Shaffer

James C. Murnion

MEYER, SHAFFER & STEPANS, PLLP

Attorneys for Plaintiffs

Stipulated Protective Order - 7
Case 1:20-cv-00052-SPW Document 50-1 Filed 03/04/21 Page 8 of 8

CERTIFICATE OF SERVICE

I hereby certify that, on March 4, a copy of the foregoing was served on the
following person(s):
l. US. District Court, Billings Division

2. Robert L. Stepans
Ryan R. Shaffer
James C. Murnion
MEYER, SHAFFER & STEPANS, PLLP
430 Ryman Street
Missoula, MT 59802

3. Bruce G. Mapley Sr.
3905 Caylan Cove
Birmingham, AL 35215
4, spw_propord@mtd.uscourts.gov

by the following means:

1,2 CM/ECF Fax
Hand Delivery 4 _ E-Mail
3 U.S. Mail Overnight Delivery Services

By: __/s/ Guy W. Rogers
Guy W. Rogers
Jon A. Wilson
BROWN LAW FIRM, P.C.
Attorneys for Defendants Watchtower
Bible and Tract Society of New York,
Inc., and Watch Tower Bible and
Tract Society of Pennsylvania

Stipulated Protective Order - 8
